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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:                                                      Case No. 13-22088-JKO
         Chandej Limpabandh
         Patricia E. Limpabandh
                     Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Robin R. Weiner, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 05/23/2013.

         2) The plan was confirmed on 11/04/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 07/12/2014, 03/13/2015.

         5) The case was completed on 05/21/2018.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 63.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

         Total paid by or on behalf of the debtor                      $152,080.51
         Less amount refunded to debtor                                      $0.00

NET RECEIPTS:                                                                                            $152,080.51


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                           $6,975.00
    Court Costs                                                                         $0.00
    Trustee Expenses & Compensation                                                 $5,171.78
    Other                                                                               $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                          $12,146.78

Attorney fees paid and disclosed by debtor:                           $3,365.00


Scheduled Creditors:
Creditor                                                 Claim         Claim            Claim        Principal      Int.
Name                                         Class     Scheduled      Asserted         Allowed         Paid         Paid
American Infosource LP                   Unsecured        1,597.00       1,510.18         1,510.18          71.55       0.00
Antio, LLC                               Unsecured        4,443.00       4,501.08         4,501.08        213.24        0.00
Asset Acceptance Corporation             Unsecured              NA       1,597.36         1,597.36          75.68       0.00
Becket & Lee, LLP                        Unsecured        2,006.00       2,006.19         2,006.19          95.04       0.00
BMW Bank of North America                Unsecured       14,517.00     14,159.45        14,159.45         670.82        0.00
BMW Financial Services                   Unsecured              NA       3,494.65         3,769.65        178.59        0.00
BMW Financial Services                   Unsecured              NA       2,778.59         2,778.59        131.64        0.00
BMW Financial Services                   Secured         32,920.00     32,455.67        35,775.60      35,775.60        0.00
BMW Financial Services                   Secured         22,932.00     18,825.00          5,003.57      5,003.57        0.00
BMW Financial Services                   Secured         29,221.00     28,766.57        31,708.80      31,708.80        0.00
BMW Financial Services                   Secured         28,878.00     27,038.00          6,806.76      6,806.76        0.00
Brightstar Credit Union                  Secured             272.00           NA               NA            0.00       0.00
Brightstar Credit Union                  Secured             139.00           NA               NA            0.00       0.00
Broward County Records, Taxes & Treasu   Secured                NA       7,400.23       10,641.24      10,641.24        0.00
Capital One                              Unsecured        3,499.00            NA               NA            0.00       0.00
Chase                                    Unsecured        2,745.00            NA               NA            0.00       0.00
Credit First, NA                         Unsecured              NA       1,313.13         1,313.13          62.21       0.00
Credit First, NA                         Unsecured              NA       1,463.94         1,463.94          69.36       0.00
Dept Stores National Bank Macy           Unsecured        5,062.00       5,061.93         5,061.93        239.82        0.00
Dept Stores National Bank Macy           Unsecured              NA       2,412.21         2,412.21        114.28        0.00
Discover Financial Services              Unsecured           251.00           NA               NA            0.00       0.00
Discover Financial Services              Unsecured           153.00           NA               NA            0.00       0.00
Federal National Mortgage Association    Secured        300,510.00    300,510.47               NA            0.00       0.00
Fia Card Services                        Unsecured        8,652.00       8,652.90         8,652.90        409.94        0.00
Fia Card Services                        Unsecured       12,578.00     12,578.57        12,578.57         595.93        0.00
GEMB/Walmart                             Unsecured        1,649.00            NA               NA            0.00       0.00
HERON BAY COMMUNITY ASSOC., IN           Secured                NA            NA               NA            0.00       0.00
HOME DEPOT                               Unsecured           977.00           NA               NA            0.00       0.00
Jefferson Capital Systems LLC            Unsecured        2,749.00       2,479.75         2,479.75        117.48        0.00
Mill Run HOA Inc                         Secured          2,019.00       1,618.21              NA            0.00       0.00
Orion                                    Unsecured              NA         156.66           156.66           7.42       0.00



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Scheduled Creditors:
Creditor                                             Claim          Claim         Claim        Principal       Int.
Name                                     Class     Scheduled       Asserted      Allowed         Paid          Paid
Pra Receivables Management, LLC      Unsecured             NA           799.95        799.95          37.90        0.00
Pra Receivables Management, LLC      Unsecured        4,320.00        4,320.51      4,320.51        204.69         0.00
Quantum 3 Group LLC                  Unsecured        3,637.00        3,637.92      3,637.92        172.35         0.00
Suntrust Bank                        Secured        170,000.00             NA            NA            0.00        0.00
Suntrust Bank                        Unsecured             NA       65,528.43     65,528.43       3,104.48         0.00
Suntrust Bank                        Secured         66,734.00      65,528.43            NA            0.00        0.00
United States Treasury               Priority         3,231.40        3,295.82      3,295.82      3,295.82         0.00
United States Treasury               Unsecured       13,715.35      14,037.90     14,037.90         665.07         0.00
US Bank Trust National Association   Secured        542,779.00     547,765.76     39,464.45      39,464.45         0.00


Summary of Disbursements to Creditors:
                                                                    Claim            Principal                Interest
                                                                  Allowed                Paid                    Paid
Secured Payments:
      Mortgage Ongoing                                       $39,464.45           $39,464.45                   $0.00
      Mortgage Arrearage                                          $0.00                $0.00                   $0.00
      Debt Secured by Vehicle                                $79,294.73           $79,294.73                   $0.00
      All Other Secured                                      $10,641.24           $10,641.24                   $0.00
TOTAL SECURED:                                              $129,400.42          $129,400.42                   $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                                    $0.00              $0.00                  $0.00
       Domestic Support Ongoing                                      $0.00              $0.00                  $0.00
       All Other Priority                                        $3,295.82          $3,295.82                  $0.00
TOTAL PRIORITY:                                                  $3,295.82          $3,295.82                  $0.00

GENERAL UNSECURED PAYMENTS:                                 $152,766.30             $7,237.49                  $0.00


Disbursements:

          Expenses of Administration                                $12,146.78
          Disbursements to Creditors                               $139,933.73

TOTAL DISBURSEMENTS :                                                                              $152,080.51




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 08/24/2018                             By:/s/ Robin R. Weiner
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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